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                           UNITED STATES DISTRICT CO URT
                           SO UTHERN DISTRICT O F FLORIDA
                              Case No.18-23253-CIV-KM W
 ANGEL RAFAEL M O REL-UCETA

        Plainti
              ff,
 VS.

 MARC J.M OO RE, in his officialcapacity
 As Field Office DirectorofU S.Im m igration
                              .

 and Custom s Enforcem ent., ela/.,

        Defendants.
                                   /

                                          ORDER
        On August 9, 2018, Plaintiff filed a com plaint for
                                                            injunctive,declaratory and
 m andam us reliefasking the Coud to orderhis return to the United States following his
                                                                         ,

 unlawfuldepodation. (DE 1). OnAugust1O,2018,the Coud entered an Ordersetting a

 hearing on Plaintiff'
                     s motionforinjunctive reliefforAugust13, 2018. (DE 5). Duringthe
 hearing,counselforthe United States Governm entrepresented thatthe Governm
                                                                                   entdid
 not oppose Plaintiff's requestthat he be returned to the U S.,but thatthe process of
                                                                    .



 returning Plainti
                 ffwould take approxim ately three m onths Counselforthe Governm ent
                                                            .



 also represented to the Coud thathe w as working diligently to coordinate this p
                                                                                   rocess
with the appropriate agencies to effectuate Plaintiff's return  .



       Accordingly,pursuantto the discussions held on the record, itis ORDERED AND

ADJUGED thatDefendants shallreturn Plaintiff, AngelRafaelM orel-uceta
                                                                         ,   to the United
States on an expedited basis. The Courtexpects the padies to provide a notice ofthis

ordertothe BoardofImm igrationAppeals('
                                      lBIA''), and to m ake the properfilingsto ensure
that Plaintiffis able to padicipate in such proceedings. It is fudherO RDERED thatthe
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  Padies shallappearfora status conference before the Honorable Kathleen M   .   W illiams
 atthe United States DistrictCourt, 400 Nodh M iam iAvenue, Room 11-3,M iam i,Florida

 on August20,2018 at9:00 a. m .

         DO NE AND O RDERED in cham bers in M iam i, Florida,this     day ofAugust
 2018.




                                             KATHLE   M W ILLIAM S
                                                           .

                                             UNITED TATES DISTRICT JUDG E
